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                       IN THE UNITED STATES DISTRICT
                           COURT FOR THE DISTRICT OF
                                  COLUMBIA

UNITED STATES OF AMERICA


                                                     Criminal No. 22-cr-00015-APM
           v.

 ELMER STEWART RHODES, et al,

                        Defendant




        MOTION OF DEFENDANT ELMER STEWART RHODES
  TO SUPPRESS ANY RECORDING OR TRANSCRIPT OF NOVEMBER 9,
              2020, “GOTOMEETING” CONVERSATION
      OR IN THE ALTERNATIVE TO ISSUE A MOTION IN LIMINE
                           Evidentiary Hearing Requested

      NOW comes Defendant ELMER STEWART RHODES III (“Rhodes”), by

undersigned counsel, hereby respectfully moves the Court pursuant to his

constitutional, statutory and civil rights to grant his Motion to Suppress From Evidence

at Trial Any Recording or Transcript Of November 9, 2020, “GoToMeeting”

Conversation or in The Alternative To Issue a Motion in Limine, with the following

integrated Memorandum of Points and Authorities stating his reasons why his motion

should be granted.

      Counsel for the Defendant contacted the U.S. Attorney’s Office to ask for their

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     position on whether they would agree or oppose this motion, in whole or in part, or

     agree to part of the relief; and they are opposed.

           Oral argument is requested.

                     MEMORANDUM OF POINTS AND AUTHORITIES

I.         SUMMARY OF CIRCUMSTANCES PERTINENT TO THIS MOTION

           The prosecution proposes to introduce at trial an alleged recording (and/or

 transcript) of an alleged GoToMeeting conference call held on November 9, 2020. See

 exhibits filed by attorney Matthew Peed for Edward Vallejo at ECF 102-1 in Case

 1:21-cr-00028. 1

           The content of this conversation is the cornerstone of the Government’s claims

 that these Defendants engaged in a seditious conspiracy (Count I) and/or conspiracy to

 obstruct an official proceeding (Count II), along with dozens of examples of the

 Defendants trading over-the-top, embellished statements mainly with each other,

 predicting that others (not them) might engage in violence (assuming that the entire

 conversations bear out what is represented by the Government at all), and public

     letters and other posts published on the Oath Keepers’ website to similar effect.


     1
        The public disclosure of the transcript, apparently inadvertent, has been treated
 as making the contents of the recording public. In any event, the USAO takes the
 position that as long the identities of unindicted persons are redacted, such documents
 are normally not confidential without a specific reason. Here, Kellye Sorrelle was
 indicted on September 1, 2022. Therefore, the transcript at ECF # 102-1 does not
 appear to be subject to the protective order, at least not any more.

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      Under federal law, the recording of a telephone call without the knowledge and

consent of all parties is presumptively legal but is rendered illegal (sometimes a crime

not merely unlawful) when the laws of an individual state so provide. Recording a

conversation of other people is illegal wiretapping (if without a judicial wiretap

warrant). 2

      Yet a participant in the conversation can record the conversation of which he is a

participant without the consent of other participants in “one party consent” states. In

so-called “two party consent” states all participants in the conversation must give their

consent to be recorded, which of course necessarily requires that they be informed that

the conversation is being recorded.

      GoToMeeting (like several, similar competitor systems) is a computer software

system which provides the ability for persons to engage in conferences and

communications among persons participating remotely from varied, diverse locations. 3

That is, the software system or “platform” allows people to engage in a “meeting” in

2
       “The Federal Wiretap Act at 18 U.S.C. § 2520 imposes a one-party-consent-type
standard, subject to certain exceptions. It was originally written to cover only wire and
oral communications, but it has since been revised to protect electronic
communications as well, such as private emails and text messages to which a person
has a reasonable expectation of privacy.” Michaela Cronin, “The Price You’ll Pay to
Press Play: When and Why You Should Think Twice Before Recording Your Spouse,”
ABA Journal, August 1, 2021,
https://www.americanbar.org/groups/family_law/publications/family-
advocate/2021/summer/price-you-ll-pay-press-play-when-why-you-should-think-
twice-recording-your-spouse/
3
       https://www.goto.com/meeting#

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which the participants are not physically present together in the same place.

GoToMeeting primarily offers the ability to hold video meetings in which participants

can see each other during the virtual “meeting” on a computer or smart phone.

      However, people can connect to a GoToMeeting conference also by telephone.

The virtual meeting or conference can include participants using traditional telephones

to call the GoToMeeting hub and join the meeting through a telephone call regulated

by state and federal law. Some or all of the meeting participants, both when speaking

and listening, may be using a government regulated telephone line instead of a

computer to connect to the conversation.

      Here, Florida is a “two party consent” (that is, all parties must give consent)

State, and the Government alleges that Floridians Kenneth Harrelson, Kelly Meggs,

and other Oath Keepers participated in the November 9, 2020, conversation as

Floridians. Other "all party consent" states other than Florida include Pennsylvania,

Nevada, California, Maryland, Michigan, Montana, New Hampshire, Vermont, Illinois,

Connecticut, Delaware, Massachusetts, Oregon, and Washington. 4

      On information and belief, it is apparently possible from within the

GoToMeeting system, as with similar systems, to have GoToMeeting itself record the

conversation. However, the platform warns participants that the conversation is being


4
      https://www.justia.com/50-state-surveys/recording-phone-calls-and-
conversations/

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recorded and provides a question or button for each participant to consent.

      Here, the actual recording which the Government proposes to hang its case upon

is actually a video recording with no video images appearing. That is, the computer

file is a very large 1.6 gigabytes in size in a video recording format. But only audio is

present in the digital file. That is, it appears that someone recorded the November 9,

2020, GoToMeeting conversation as a video recording but physically (not

electronically) covered up the camera or pointed the camera at a desk or table so that

only the audio is present. This may suggest that the recording person was not an

invited member of the conversation who did not want to record video, just the audio.

Or at least it presents a question that deserves being answered as to the identity of the

recording person. An uninvited person might not qualify as a “party” in either a one-

party or two-party consent state.

      Furthermore, the recording of the November 9, 2020, GoToMeeting

conversation which the Government claims to be evidence cuts on after the

conversation has already started. It is not evident how much of the conversation was

lost before the recording began. However, certainly any introduction or explanation

for the purpose of the meeting was lost. The introduction explaining the purpose of the

meeting would be necessary to interpret the later contents, not just theoretically but

specifically necessary for this conversation when the contents are read or listened to.

The body of the conversation requires a context in its substance.


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      Although the undersigned is newly-engaged counsel, from our investigation so

far and efforts at consultation, it appears that the U.S. Attorney’s Office (“USAO”) for

the District of Columbia released the audio recording and transcript 5 of the November

9, 2020, to defense counsel under the protective order on January 6, 2022. See Exhibit

A and B attached. David Fischer as attorney for Thomas Caldwell raised the question

of who recorded the conversation, in what state they were located, and whether the

recording was illegal. Id. We understand that the USAO replied that the recording

was not made pursuant to any warrant, was recorded by a private individual, but the

Government refused to identify the person who recorded the conversation or what state

they were located in when recording the phone call. Perhaps the USAO has

subsequently provided that information, but newly-entered counsel has not found that.

      From the USAO’s limited explanations, it is possible that the person who

recorded the conversation either provided the recording to government investigators,

was acting as an active informant of the Government when making the recording 6 and

thus effectively engaging in a warrantless search by an agent of the Government, or


5
        Note that this is a transcript by a court reporter who was not present in the
discussion, but is attempting to reconstruct a transcript from the recording after the
fact, including without the opportunity to inquire if a word or phrase is not clear. This
led to the court reporter misidentifying the voice of Kellye Sorrelle – a woman – as
being Kelly Meggs, who is a man. The Government issued a corrected transcript.
6
        The Court and the Government are aware of facts and circumstances that remain
confidential under the protective order making it nearly certain that the recording was
made by an agent of the U.S. Government.

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  had their computer or smart phone unexpectedly seized by the Government without the

  person’s cooperation or participation. It is also possible that the person who recorded

  the conversation was an uninvited interloper and thus considered to be illegally

  wiretapping the conversation, that is not a proper party to the conversation at all. That

  would mean that in every State the recording would be illegal.

        This does matter and it is material and important. This can change the outcome

  of trial on these charges. Without this proposed evidence, and with complete

  conversations containing locker room talk among the Defendants presented in full,

  Counts I and II must fail. The distribution of the recording on January 6, 2022, while

  the USAO was preparing to secure a Superseding Indictment on January 12, 2022,

  suggests that the recording was an integral part of the Government adding Count I for

  seditious conspiracy on January 12, 2022.

II.     GOVERNING LAW
        18 U.S. Code § 2515 requires:

            18 U.S. Code § 2515 - Prohibition of use as evidence of intercepted
            wire or oral communications

                 Whenever any wire or oral communication has been
                 intercepted, no part of the contents of such
                 communication and no evidence derived therefrom may
                 be received in evidence in any trial, hearing, or other
                 proceeding in or before any court, grand jury,
                 department, officer, agency, regulatory body, legislative
                 committee,      or      other      authority     of    the
                 United States, a State, or a political subdivision thereof


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        if the disclosure of that information would be in
        violation of this chapter.


18 U.S. Code § 2511 provides that:

      18 U.S. Code § 2511 - Interception and disclosure of wire,
      oral, or electronic communications prohibited

             (1)Except as otherwise specifically provided in this chapter
            any person who—
               (a) intentionally intercepts, endeavors to intercept, or
               procures any other person to intercept or endeavor
               to intercept, any wire, oral, or electronic communication;
               (b) intentionally uses, endeavors to use, or procures any
               other person to use or endeavor to use any electronic,
               mechanical, or other device to intercept any oral
               communication when—
                    (i) such device is affixed to, or otherwise transmits
                    a signal through, a wire, cable, or other like
                    connection used in wire communication; or
                                  ***
                    (iv) such use or endeavor to use (A) takes place on
                    the premises of any business or other commercial
                    establishment the operations of which affect
                    interstate or foreign commerce; or (B) obtains or is
                    for the purpose of obtaining information relating to
                    the operations of any business or other commercial
                    establishment the operations of which affect
                    interstate or foreign commerce; or
                    (v) such person acts in the District of Columbia,
                    the Commonwealth of Puerto Rico, or any territory
                    or possession of the United States;
               (c) intentionally discloses, or endeavors to disclose, to any
               other person the contents of any wire, oral, or electronic
               communication, knowing or having reason to know that the
               information was obtained through the interception of a wire,
               oral, or electronic communication in violation of this
               subsection;


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              (d) intentionally uses, or endeavors to use, the contents of any
              wire, oral, or electronic communication, knowing or having
              reason to know that the information was obtained through the
              interception of a wire, oral, or electronic communication in
              violation of this subsection; or
              (e) (i) intentionally discloses, or endeavors to disclose, to any
              other person the contents of any wire, oral, or electronic
              communication, intercepted by means authorized by sections
              2511(2)(a)(ii), 2511(2)(b)–(c), 2511(2)(e), 2516, and 2518 of
              this chapter, (ii) knowing or having reason to know that the
              information was obtained through the interception of such a
              communication in connection with a criminal investigation,
              (iii) having obtained or received the information in
              connection with a criminal investigation, and (iv) with intent
              to improperly obstruct, impede, or interfere with a duly
              authorized criminal investigation,
            shall be punished as provided in subsection (4) or shall be subject to
            suit as provided in subsection (5).


18 U.S. Code § 2511 further provides that:

                          ***
            (4)
            (a) Except as provided in paragraph (b) of this subsection or in
            subsection (5), whoever violates subsection (1) of this section shall
            be fined under this title or imprisoned not more than five years, or
            both.
                           ***
            (ii)In an action under this subsection—
            (A) if the violation of this chapter is a first offense for
                the person under paragraph (a) of subsection (4) and
                such person has not been found liable in a civil action
                under section 2520 of this title, the Federal Government shall be
                entitled to appropriate injunctive relief; and
            (B) if the violation of this chapter is a second or subsequent offense
            under paragraph (a) of subsection (4) or such person has been found
            liable in any prior civil action under section 2520, the person shall
            be subject to a mandatory $500 civil fine.


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                   (b)The court may use any means within its authority to enforce an
                   injunction issued under paragraph (ii)(A), and shall impose a civil
                   fine of not less than $500 for each violation of such an injunction.

      In federal courts, Rule 12(b)(3)(C) and Rule 41(h) of the Federal Rules of

Criminal Procedure govern motions to suppress.

      In Simmons, et al. v. United States, 390 U.S. 377, 88 S. Ct. 967, 19 L. Ed. 2d

1247, 1968 U.S. LEXIS 2167 (U.S. Mar. 18, 1968) (denying suppression as to co-

Defendant Simmons but granting suppression as to co-Defendant Garrett) the U.S.

Supreme Court applied the well-established procedure of suppression under the

“exclusionary rule.” This confirms the availability of this well-known legal claim:

               In order to effectuate the Fourth Amendment's guarantee
               of freedom from unreasonable searches and seizures,
               this Court long ago conferred upon defendants in federal
               prosecutions the right, upon motion and proof, to have
               excluded from trial evidence which had been secured by
               means        of     an      unlawful      search     and
               seizure. Weeks v. United States, 232 U. S. 383. More
               recently, this Court has held that "the exclusionary rule
               is an essential part of both the Fourth and Fourteenth
               Amendments. . . ." Mapp v. Ohio, 367 U. S. 643, 657.

               However, we have also held that rights assured by the
               Fourth Amendment are personal rights, and that they
               may be enforced by exclusion of evidence only at the
               instance of one whose own protection was infringed by
               the search and seizure. See, e. g., Jones v. United
               States, 362 U. S. 257, 260-261. At one time, a defendant
               who wished to assert a Fourth Amendment objection
               was required to show that he was the owner or possessor
               of the seized property or that he had a possessory


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       interest in the searched premises.[11] In part to avoid
       having to resolve the issue presented by this case, we
       relaxed those standing requirements in two alternative
       ways in Jones v. United States, supra. First, we held that
       when, as in Jones, possession of the seized evidence is
       itself an essential element of the offense with which the
       defendant is charged, the Government is precluded from
       denying that the defendant has the requisite possessory
       interest to challenge the admission of the evidence.
       Second, we held alternatively that the defendant need
       have no possessory interest in the searched premises in
       order to have standing; it is sufficient that he be
       legitimately on those premises when the search occurs.
       Throughout this case, petitioner Garrett has justifiably,
       and without challenge from the Government, proceeded
       on the assumption that the standing requirements must
       be satisfied.[12] On that premise, he contends that
       testimony given by a defendant to meet such
       requirements should not be admissible against him at
       trial on the question of guilt or innocence. We agree.

       Under the standing rules set out in Jones, there will be
       occasions, even in prosecutions for nonpossessory
       offenses, when a defendant's testimony will be needed
       to establish standing. This case serves as an example.
       Garrett evidently was not in Mrs. Mahon's house at the
       time his suitcase was seized from her basement. The
       only, or at least the most natural, way in which he could
       found standing to object to the admission of the suitcase
       was to testify that he was its owner.[13] Thus, his
       testimony is to be regarded as an integral part of his
       Fourth Amendment exclusion claim. Under the rule laid
       down by the courts below, he could give that testimony
       only by assuming the risk that the testimony would later
       be admitted against him at trial. Testimony of this kind,
       which links a defendant to evidence which the
       Government considers important enough to seize and to
       seek to have admitted at trial, must often be highly
       prejudicial to a defendant. This case again serves as an


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                  example, for Garrett's admitted ownership of a suitcase
                  which only a few hours after the robbery was found to
                  contain money wrappers taken from the victimized bank
                  was undoubtedly a strong piece of evidence against him.
                  Without his testimony, the Government might have
                  found it hard to prove that he was the owner of the
                  suitcase.[14]



         Meanwhile, Federal Rules of Evidence, Rule 403, provides:

               The court may exclude relevant evidence if its probative value
               is substantially outweighed by a danger of one or more of the
               following: unfair prejudice, confusing the issues, misleading the
               jury, undue delay, wasting time, or needlessly presenting
               cumulative evidence.


III.     ARGUMENT

   A.    CONTEXT AND MATERIALITY
         There are no allegations that Stewart Rhodes committed any violence, damaged

   any property, or treated any law enforcement officer with anything less than respect

   anywhere in the District of Columbia around January 5-6, 2021. 7 Rhodes personally

   never entered or climbed on the Capitol building itself and never interacted with any

   7
          U.S. Capitol Police Officer Harry “Dunn informed all protestors they needed to
   leave and told the Oath Keepers that the protestors were fighting officers. The Oath
   Keepers advised Dunn they would help keep the protestors from the lower west terrace
   area. Dunn advised he allowed them to stand in front of him to help keep the protestors
   from getting down the stairs. Dunn left this area when he was relieved by USCP riot
   officers.” -- FBI Interview of US Capitol Police Officer Harry Dunn, May 18, 2021,
   page 2, publicly disclosed by the U.S. House Select Committee to Investigate the
   January 6, 2012, Attack on the Capitol.

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law enforcement officers. In fact, we understand from preliminary investigation that

the Oath Keepers effectively detailed one of its members, a physician, to the U.S.

Capitol Police’s direction and use throughout the afternoon.

      There are no factual allegations that Rhodes aided and abetted anyone in the

commission of any crime. The Government included boilerplate allegations, like an

after-thought, but without any factual allegations to support any aiding and abetting

theory.

      The Grand Jury in multiple versions of the indictment admits that the Oath

Keepers arrived in the area of the U.S. Capitol Police after the U.S. Capitol Police had

already advised the presiding officers of the House and Senate to recess, suspend the

Joint Session of Congress, and evacuate before these Defendants arrived in the area.

The Oath Keepers did not cause a decision to recess that culminated at 2:18 PM upon

reaching the area at 2:26 PM. This time line is established by the Grand Jury. This is

not a matter of the prosecution being free to add other information at trial. The

timeline has been locked in by the Grand Jury. So Count III must fail. These

Defendants could not have obstructed an official proceeding (Count III) prior to when

they arrived.

      In December 2020, the U.S. Capitol Police issued six permits for demonstrations

to be lawfully held on the U.S. Capitol Grounds on the afternoon of January 6, 2021.

Attendees were lawfully authorized to be on the Grounds and to travel to and from and


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among the permitted demonstration sites. The records show that the Oath Keepers

travelled from the lawful demonstration at the Ellipse to the Capitol Grounds to assist a

lawful demonstration planned at “Lot 8” on the Capitol grounds. As shown in

messaging chats relied upon by the Grand Jury, Stewart Rhodes arrived much later

than other Oath Keepers and ordered Oath Keepers who had gone “off mission” to join

him at a place away from where there were disturbances happening. Rhodes then led

the Oath Keepers who were “off mission” away from the U.S. Capitol to dinner at

Olive Garden.

      The documents known to the Government show that the Oath Keepers

extensively planned, prepared to travel to Washington, D.C., intended to, and did

provide volunteer security (“Protective Service Details” or “PSDs”) to protect

speakers, VIP attendees and crowds attending lawfully permitted demonstrations at the

Ellipse, on U.S. Capitol Grounds and provide related logistical support.

      All parties have actual knowledge that the Oath Keepers “preparations” were for

lawful and legitimate purposes to travel to D.C. and protect crowds. All parties know

that the focus prior to January 6, 2021, was the expected continuation of extreme left-

wing violence from ANTIFA and similar groups from 2014 through 2020, whom had

always showed up to counter-demonstrate and attack conservative or Trump-related

rallies or demonstrations. Viewed at the time, not in hindsight, the Oath Keepers came

prepared to keep the peace from anarchist violence threatened upon the crowds of


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unarmed Trump supporters, many elderly. 8

       Therefore, the Government has nothing to sustain Counts I or II but a

misrepresentation of the November 9, 2020, GoToMeeting conference, and alleged

locker room “shock jock” talk privately among the Oath Keepers (where the actual full

conversations have not been provided). Without misrepresenting the GoToMeeting

conference, the Government cannot sustain before a neutral, impartial jury who

actually listens for an estimated six weeks either a charge of seditious conspiracy or a

conspiracy to obstruct an official proceeding.

B.     MOTION TO SUPPRESS

       Unless the Government can carry its burden of showing that the recording was

legal in the State in which it was recorded and that all participants who connected by

telephone were in “one party consent” states, the recording of the November 9, 2020,

GoToMeeting conservation is illegal.

       Therefore, the recording may not be admitted into evidence, by the force of

statute.


8
       Although the riots from 2014 through 2020 have been caused by left-wing
anarchists and other leftist activists, we do not mean to imply that the Oath Keepers
would only keep the peace against left-wing violence. Indeed, while U.S. Capitol
Police Officer Harry Dunn protests in his FBI interview that he didn’t need any help in
a corridor near the U.S. Capitol “crypt” room not far from the Rotunda, that he had
everything under control, and he was not agitated or fearful, Dunn nevertheless
grudgingly admits that Oath Keepers offered to help the U.S. Capitol Police against a
group of Trump demonstrators who were unusually violent and threatening.

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      While the law has had to adapt to changes in technology, it also appears that

participants connected by internet computer connection may also be protected by such

laws and their participation would also a basis for excluding the recording.

      At a minimum, unless the Government can identify all participants in the

GoToMeeting conversation who connected by telephone and determine that none of

them were connecting from “one party consent” law states, the recording must be

suppressed.

      The Government must also disclose whether the person recording the

conversation was an authorized participant and not an unauthorized interloper, thus

violating even “one party consent” law states. The Government must also disclose

whether the person recording the conversation was acting explicitly as an informant for

or agent of the U.S. Government in making the recording.

C.    MOTION IN LIMINE UNDER RULE 403 UNDULY PREJUDICIAL
      Because of the active mischaracterization of the conversation by the

Government, and in light of the lack of actual probative value of an accurate reading of

the contents, the recording (and its transcript) is more prejudicial than probative and

likely to confuse and mislead the jury.

      On a careful examination of the alleged contents, it will be clear that the contents

do not say what the Government claims. There is actual embellishment by the

Government, not merely a potential for confusion. Therefore, the contents are more


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  prejudicial than probative under Rule 403 of the Federal Rules of Evidence. Not only

  could the jury be potentially confused, but the prosecution is actually misrepresenting

  the contents of the “meeting” in fact. That is verifiable by actually reading the

  transcript of that conversation, at least if read without the color of runaway emotion.

  See exhibits filed by attorney Matthew Peed for Edward Vallejo at ECF 102-1 in Case

  1:21-cr-00028.

        It may be noted that the two speakers in the alleged meeting are Rhodes and

  Kellye SoRelle, who was arrested on September 1, 2022, in a clearly-related case

  assigned to the Honorable U.S. District Judge Amit Mehta in case 1:22-cr-00290-

  APM. SoRelle was to be a major witness for Rhodes and his co-Defendants at trial in

  cases 1:22-cr-00015 and 1:21-cr-00028. Introducing the November 9, 2020,

  GoToMeeting conservation without Kellye SoRelle testifying about it would also make

  the evidence unfairly prejudicial. Note that this is due to knowing and intentional acts

  by the Government fully aware of the upcoming trial of the Oath Keepers when

  arresting a key witness. (It is possible that Kellye SoRelle could still testify while

  facing prosecution, but the turn-around time for a lawyer to make that gutsy decision

  with her would be very challenging by the planned trial date.)

IV.     CONCLUSION
        Unless the Court can establish that the recording person and all of those

  participating by telephone were located in “one party consent” states concerning the


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regulation of telephone calls and that communications by computer are not prohibited

from recording without consent and that the recording person was an authorized

participant in the conversation, respectfully the Court must suppress the conversation

and/or bar its introduction in limine.



Dated: September 12, 2022

                                                Respectfully submitted,
                                                /s/ Edward L. Tarpley Jr.
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                          CERTIFICATE OF SERVICE

       I hereby certify that this document is being filed on this September 12, 2022,
with the Clerk of the Court by using the U.S. District Court for the District of
Columbia’s CM/ECF system, which will send an electronic copy of to the following
CM/ECF participants. From my review of the PACER account for this case the
following attorneys are enrolled to receive notice and a copy through the ECF system.

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Dated: September 12, 2022      RESPECTFULLY SUBMITTED
                               ELMER STEWART RHODES, III
                                      By Counsel


                               /s/ Edward L. Tarpley, Jr.
                               Edward L. Tarpley, Jr., Esq.




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                          CERTIFICATE OF SERVICE

       I hereby certify that this document is being filed on this September 12, 2022,
with the Clerk of the Court by using the U.S. District Court for the District of
Columbia’s CM/ECF system, which will send an electronic copy of to the following
CM/ECF participants. From my review of the PACER account for this case the
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